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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

ARTHUR M. LOVE, *
PLAINTIFF, *
Vv. * Civil Action No. RDB-21-2029
LARRY HOGAN, eé¢ a/, *
*
DEFENDANTS.
* * * * * * * * * * * * *
ORDER

On December 30, 2021, Attorney Nevin Young filed a Motion to Appear Pro Hac
Vice on behalf of Attorney John M. Pierce. (ECF No. 10.) On January 5, 2022, Plaintiff,
through Young, filed a Motion for Extension of Time to respond to Defendants’ Motion to
Dismiss. (ECF No. 12.) On February 8, 2022, while both motions were pending, Pierce filed
a Response to Defendants’ Motion to Dismiss. (ECF No. 15.) On February 15, 2022, the
Clerk of this Court issued an Order denying Pierce’s motion to appear pro hac vice. (ECF No.
17.) The Clerk also marked the Response as filed error for failure to comply with the Local
Rules of this Court. See Local Rule 101.1.b (D. Md. 2021). Accordingly, it is HEREBY
ORDERED this 22nd day of February 2022 that PlaintifPs Motion for Extension of Time
(ECF No. 12) is GRANTED. Plaintiff shall respond to Defendants’ Motion to Dismiss by
noon on March 14, 2022. Plaintiff may proceed with Young as his counsel, retain new

counsel, or proceed pro se.

PULL. BoM

Richard D. Bennett
United States District Judge
